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08
                              UNITED STATES DISTRICT COURT
09                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
10

11 UNITED STATES OF AMERICA,              )
                                          )
12               Plaintiff,               )
                                          )           Case No. CR05-0316-JLR-JPD
13         v.                             )
                                          )
14   LAUL HABTAI,                         )           DETENTION ORDER
                                          )
15               Defendant.               )
     ____________________________________ )
16

17 Offenses charged:

18          Count 1: Conspiracy to Distribute Cocaine Base and Cocaine in violation of 21
19 U.S.C. §§ 841(a)(1), 841(b)(1)(B), 841(b)(1)(c), and 21 U.S.C. § 846.

20          Count 2: Possession with Intent to Distribute Cocaine Base in violation of 21 U.S.C.
21 §§ 841(b)(1)(B) and 18 U.S.C. § 2.

22          Count 3: Possession with Intent to Distribute Cocaine in violation of 21 U.S.C.
23 §§ 841(a)(1) and 841(b)(1)(C), and 18 U.S.C. § 2.

24 Date of Detention Hearing:     November 1, 2005.

25          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

26 based upon the factual findings and statement of reasons for detention hereafter set forth,

     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
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01 finds:

02          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
03          Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that defendant is a

04 flight risk and a danger to the community based on the nature of the pending charges.

05 Defendant has failed to overcome this presumption because he has:

06          (1)    failed to appear on several occasions;

07          (2)    serious substance-abuse issues;

08          (3)    a substantial criminal-history background;

09          (4)    an unstable living environment; and

10          (5)    multiple arrests for the same violations, showing an unwillingness to follow

11 directions.

12          As a result, no conditions or combination of conditions are apparent that will

13 reasonably assure the safety of the community or the defendant’s appearance at future Court

14 hearings.

15          IT IS THEREFORE ORDERED:

16          (1)    Defendant shall be detained pending trial and committed to the custody of the

17                 Attorney General for confinement in a correction facility separate, to the

18                 extent practicable, from persons awaiting or serving sentences or being held in

19                 custody pending appeal;

20          (2)    Defendant shall be afforded reasonable opportunity for private consultation

21                 with counsel;

22          (3)    On order of a court of the United States or on request of an attorney for the

23                 government, the person in charge of the corrections facility in which

24                 defendant is confined shall deliver the defendant to a United States Marshal

25                 for the purpose of an appearance in connection with a court proceeding; and

26          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01               counsel for the defendant, to the United States Marshal, and to the United
02               States Pretrial Services Officer.
03               DATED this 1st day of November, 2005.



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                                                      JAMES P. DONOHUE
06                                                    United States Magistrate Judge
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     DETENTION ORDER                                                                      15.13
     18 U.S.C. § 3142(i)                                                               Rev. 1/91
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